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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

WILMINGTON SAVINGS FUND
SOCIETY, FSB, NOT IN ITS
INDIVIDUAL CAPACITY BUT
SOLELY IN ITS CAPACITY AS
OWNER TRUSTEE FOR CASCADE
FUNDING MORTGAGE TRUST
2018-RMI

CIVIL ACTION NO. 3:22-CV-0735-S-BN

Y.

B.B. BARR and VINIDA BARR

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AMENDED JUDGMENT

The Court has entered an Order in this case accepting the Findings, Conclusions, and
Recommendation of the United States Magistrate Judge.

Therefore, it is ORDERED, ADJUDGED, and DECREED that Plaintiff Wilmington
Savings Fund Society, FSB, not in its individual capacity but solely as Owner Trustee for Cascade
Funding Mortgage Trust 2018-RMIi’s Motion for Summary Judgment [ECF No. 27] is
GRANTED.

it is further ORDERED that Plaintiff, or its successors and assigns, is authorized to
foreclose its lien on the property that secured the note indebtedness, to wit:

BEING ESTATE “F” IN BLOCK 18/2970 IN BOB-O-LINKS DOWNS
NO. FOUR, AN ADDITION TO THE CITY OF DALLAS, TEXAS,
ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 17,
PAGE 391, MAP RECORDS, DALLAS COUNTY, TEXAS
and which has the address of 6638 Williamson Road, Dallas, Texas 75214, pursuant to the note,
the security interest, and Texas Property Code § 51.002. Plaintiff is entitled to apply the proceeds

from the sale of the property against not only principal and accrued, unpaid interest, pre-judgment

interest, and post-judgment interest, but also against the attorney’s fees and costs, in an amount to

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be determined by the Court post-judgment. Plaintiff is directed to file a separate application for
attorney’s fees that establishes the amount of reasonable and necessary attorney’s fees and costs
that it has incurred, with supporting evidence, based on an acceptable method for calculating
attorney’s fees under Texas Civil Practice and Remedies Code § 38.001(8) and under the Deed of
Trust and the Note.

Costs of court, recoverable under Federal Rule of Civil Procedure 54(d)(1), shall be taxed
against Defendants B.B. Barr and Vinida Barr.

This judgment is in rem and is not a personal judgment against any party.

The Clerk shall transmit to the parties a true copy of this Judgment, of the Court’s Order
Accepting the Findings, Conclusions, and Recommendation of the United States Magistrate Judge,
and of the Findings, Conclusions, and Recommendation of the United States Magistrate Judge
dated November 16, 2023.

SO ORDERED.

SIGNED January 12, 2024.

Meise —

UNITED STATES DISTRICT JUDGE

